Case 7:13-cr-00038-MFU      Document 540 Filed 04/19/17       Page 1 of 11       Pageid#:
                                       4115
                                                                     CLERK'S OFFICEU.S.DISX COUR-I
                                                                            AT ROANOK ,VA
                                                                                 FILED
                 IN TH E UN ITE D STATE S D ISTRICT CO U RT       AF2 19 2217
                 FO R TH E W E STE RN D ISTRICT O F VIRGIN IA JUL .DUD , LERK
                             R OAN O U D IW SION              nY: X '        .




U N ITED STATES O F AM E RICA,                 CASE N O .7:13CR00038-3


                                               M EM O RAN D U M O PIN IO N


U ARRAH M ON IQUE JON ES,                      By: M ichaelY.U rbansld
             D efendant.                       Utlited StatesDisttictJudge

      DefendantKearrah Moniqueloneswasfoundguiltyfollowingasix-daytrialof
conspiracy to disttibute 28 gram sorm ozeofcrack cocaine and wassentenced to 120

m onthsin prison. She filed a m otion to vacate,setaside,orcottecthersentence,under28

U.S.C.j2255,.raisingmultipleclnimsofineffectiveassistanceofcounsel.The.government
respondedandlonesreplied,makingthismattezripeforadjudication.lnaddition,Jones
filed an amended j2255motion challenging theconsdtaztionalityofthestamtesunderwllich
shew asindicted and found /1111. A fterzeview oftherecord and briefs,the couttconcludes

thatloneshasnotraised anymeritoriousclnims.Accordingly,thecourtwillgrantthe
United States'motion todisrnissand disnnissJones'j2255moéon andamended j2255
m otlon.

                                 L BACKGRO U N D

      On September26,2013,afederalgrand jury sittingin Roanoke,Virginiacharged
Jonesand fivecodefendantsin aone-countsupersedingindictm entwith conspitacyto
distribute and possesswith theintentto distdbute 280 gram sorm ore ofam ixtareor

substancecontainingcrackcocaine,invioladonof21U.S.C.j841(a)(1),$)(1)(A)and846.
Case 7:13-cr-00038-MFU           Document 540 Filed 04/19/17               Page 2 of 11       Pageid#:
                                            4116



Joneswasappointedcounsel.Onlanuary21,2014,Jonesandfourcodefendantsproceeded
to tdal.l Thegoveznmentarguedthatloneswasinvolvedinaczack cocainetrafficldng
conspiracy run by hertwo brothersand thatshe oversaw the consp/acy afterherbrothers

w ere incarcerated. Tr.Trans.at75,ECF N o.402. In addition,the policehad aconfidential

informantpurchasecocainefrom lonesonthteeoccasions.Tr.Trans.at138,ECF No.4039
Tr.Trans.at151-52,ECF N o.400. Following the closeofthegovernm ent'scase,defense

counselmovedforjudgmentofacqtzittal,arguingthatthegovernmenthad failedto establish
thatthe conspiracy involved 280gram sorm ore ofcrack cocaine. Tr.Trans.at109-110,

ECF N o.400. D efense counselalso argued in herclosing statem entthatthegovernm ent

had proved neitherthatloneswasinvolvedin theconspitacynorthatshewaszesponsible
for280 grlm sofcrack cocaine. Tr.Tzans.at93,ECF N o.402,Tr.Trans.at50-51,ECF

N o.404. Thism oéon wasdenied. Id.at111-12.

        Thejuty wastaskedwith determiningwhetherloneswasguiltyofconspiracyto
distribute crack cocaine;and,ifso,whetherthe conspitacy involved 280 g'
                                                                      ram sorm ore of

crack cocaineor,in thealternative,28gramsozmozeofcrackcocaine.Thejuryfound
Jonesguiltyofthelesserincluded offenseofconspiracyto clistribute28gramsormoreof
crack cocaine.V erdict,ECF N o.274.

        TheProbation Departmentprepared apresentenceinveségadonreport(<TSR'')in
anticipation ofsentencihg. The PSR recom m ended a totaloffense levelof 36,w hich

included atwo-pointenhancem entforbeing an organizerorleaderin the conspitacy. PSR

at!!(55& 60,ECF No.342.ThePSR provided foracriminallaistorycategoryoflV,

         1O necodefendant,JoshuaTyreePoindexter,pleaded guilty andtestifiedattrialastheprosecution'smain
w itness.
Case 7:13-cr-00038-MFU      Document 540 Filed 04/19/17        Page 3 of 11   Pageid#:
                                       4117



resultingin animprisonmentrangeof262to327months.1d.at!101.Defensecounsel
madenumerousobjectionsto tlnePSR,including an objection to thedrugweightattlibuted
toJones. Id.at25.Counselargued thatlonesshould notbeheld responsibleforanydrug
salesbeforeshejoined theconspitacy,nowitnessatttialteported herinvolvementin the
conspiracy beforeN ovem ber2012,and only one witnessalleged herinvolvem entbefore

January,2013.A probation officetrespondedthattheevidenceattzialestablished thatlones
hadbeeninvolvedintheconspiracyfrom thebeginrling.Counselalsoobjectedtothetwo-
pointenhancement,clairning thatloneswasnotamanageroftheconspiracy,butthe
prosation officerconcludedthattheenhancem entwasappzopriate.
      D efense counselfûed a sentencing m em orandum in w hich counselargued,again,that

therewasno evidencethatloneswasinvolvedin theconspitacyftom itsinceptionin 2005.
Sent.M em .at1,ECF N o.324.Counselnoted thatalthough search w arrantshad been

executed onresidencesinwhichJoneslivedwith otherfarnilymembers,and itlwhich dnzgs
werefound,therewasno evidencethatanyillegalmaterialseizedbelongedtoJones.
Accordingly,counselarguedthatthecortectdrugquantityshouldbethatfoundbythejury,
between 28and 279gramsofcrackcocaine.J-daat3.Counselalso challenged,again,the

> o-pointenhancementforbeing aleaderorm anageroftheconspitacy.J.
                                                               l.
                                                                L

      Onlune23,2014,thecoprtheldasentencingheatihginwllich defensecounselagain
assertedherobjection to theclrllg quandtyattributedtoJonesin thePSR.Sent.Hrk.Tzan.
at15,ECF No.406.Thegoveznm entresponded thatlonespardcipatedinthreetelephone
callsin which atotalof504 gtam sofcrackw ere discussed.J-dmat17. ln adclition,1.1
kilogram sofcrackw ere seized from m em bersoftheconspiracy afterAugust2012. Id.at
Case 7:13-cr-00038-MFU            Document 540 Filed 04/19/17               Page 4 of 11        Pageid#:
                                             4118



18. Accordingly,thegovernm entargued thatTfbased on directhands-on involvem ent...

840gzamsisjustnotastretch.'; Id.at20-21.Thecotutoverruled defensecounsel's
objecéonsto thequantityofdlnxgsattzibutabletoJones.J-d.aat25.Thecourtthen sentenced
Jonesto 120m onths'imprisonment.Judgmentat2,ECF No.337.Thecourtimposeda
dow nward variance,concluding thatalthough herparticipation in the conspiracywas

considerable,itwasm uch lessthan herbrothers.Sent.Hr'g.Tr..at119,ECF N o.406.

       Jonesappealed,clnimingthatthetrialcoutterred bysuaspontesubnaittingto thejury
aspecialverdictform thatperrnittedthejurytomakeanalternativedt'ugweightEnding,
admiténgaudio recordingsofjailhouseconversadons,ordering forfeitureandimposingan
unreasonablesentence.UnitedStatesv.Jones,622F.App'x 204 (4th Cit.Aug.24,2015).
The Fourth Circuitaffam ed on allclnim s. ld.Jonesf
                                                 .imelyflledthisj2255motion,
asseréng thattrialcounselerred by:(1)failingto challengethePSR'SdrugquantityEndingas
notsupportedbytherecord and failing to objectto thesentencing court'sadoptionofthe
PSR and drug quantity finding,including the am ountofdrugsseized and attdbuted to her;

and (2)failingto arguethatanyclrugactivityoccurringbeforeJonesjoined theconspitacy
should notbeattdbuted toher.2 In addidon,Jonesffed am oéon toamend/correcther
j2255motion,in wlzich shearguesthatthe21U.S.C.jj841and 851areunconstitutional
becausetheydo notincludepenaltyprovisionsand 21U.S.C.j846isunconsdtazdonally



        2JOl1eSa1so arguedthatshewasentitledto reliefunderJohnson v. United States,135S.Ct.2551,2563
(2015),inwhichtheSupremeCom'
                           tconcludedthataportionoftheArmedCareerCriminalActwasvoidfor
vagueness.How ever,Jonesm ovedto dçclrop theJohnsonO ecklesclaim ''becausesherecognized thatdçitdoesn't
applytom e.'' Letterat1,ECF No.506.Accordingly,thecourtwillnotaddressJones'Jolm sonclaim ;thisis
appropriateasJoneswasnotsentencedundertheAnnedCareerCriminalAct,18U.S.C.j924(e),ortmderthe
CareerOffenderguideline,U.S.SentencingGuidelinej4B1.2.
Case 7:13-cr-00038-MFU        Document 540 Filed 04/19/17         Page 5 of 11     Pageid#:
                                         4119



vague becauseitdoesnotadequately inform citizensofthe conductthattheconspiracy

stat-ute proscribes.

                                    II.D ISCU SSIO N

       Tostateaviableclnim forreliefunderj2255,apetitionermustprove:(1)thatthe
                                                                             '
                          j

sentencewasffimposedinvioladonoftheConstitutionorlawsoftheUnitedStatesi''(2)
thatffthecouztwaswithoutjtuisdicéon toimposesuch sentencei':or(3)thatTfthesentence
wasin excessofthemaximum authorizedbylaw,orisotherwisesubjectto collateralattack.';
28U.S.C.j2255$).Jonesbearstheburden ofprovinggtoundsforacollateralattack bya
prepondezanceoftheevidence.Millerv.UrlitedStates,261F.2d546,547 (4th Cir.1958).
       A . Ineffective Assistance ofCounsel

       Crim inaldefendantshave aSixth Am endm entrightto ffreasonably effective''legal

assistance.Stricldandv.W ashin ton,466U.S.668,687 (1984).ln orderto establishthat
counsel'sassistance wasnotreasonably effective,a defendantm ustsadsfya two-prong

analysis:thedefendantmustshow both thatcounsel'sperformancefellbelow an objecéve
standard ofreasonablenessand thatthedefendantwasptejudiced bycounsel'salleged
deficientperform ance. Id.at669.W hen considering thereasonablenessprong of

Stricldand,courtsapply a ffstrong presum pdon thatcounsel'sconductfallswithin the wide

rangeofreasonableprofessionalassistance.'; 1d.at689;see also Gra v.Branker 529 F.3d

220,228-29 (4th Cir.2008).Counsel'sperformanceisjudged ffon thefactsoftheparticular
casey''and assessed Tffrom counsel'sperspective atthe tim e.'' Strickland,466 U .S.at689.

       To saésfytheptejudiceptongofSttickland,adefendantmustshow thattheteisa
reasonableprobabilitythat,butforcounsel'sunprofessionalerror,the outcom eofthe
Case 7:13-cr-00038-MFU        Document 540 Filed 04/19/17       Page 6 of 11    Pageid#:
                                         4120



proceeding would havebeen different. ld.at694. f<A reasonable probabilityisaprobability

sufficientto undernaineconfidencein the outcom e.'' Id.

       (1)Failureto Ob'ectto Dru W eiht
       Jonesargtzesthattrialcounselfailed toobject130th to thePSR'Scalculaéon ofdrug
w eightand theevidence on which itrelied and thecourt'sadopdon ofthe PSR. These

clnim s are w ithoutm erit.

       Although thejuryconcluded thatloneswasg1.
                                               1.
                                                11t),ofconspitacytodisttibutebetween
28 and 279 gram sofczack cocaine,thePSR concluded that,based on relevantconduct,

Joneswasresponsiblefordistribution of1.4 ltilogramsofcrack cocaineaspartofabroad
Htnlgconspizacy.PSR !46,ECF No.342. ContrarytoJones'clnim,herdefensecounsel
vigorously opposed the drug weightcalculation atm kzltiple stagesoftheproceeding. Attzial,

counselm oved foracquittal,azguingthatlonesgotinvolvedin thecohspiracyverylate,and
thatm ostofthe crirninalconducthad already occurred by thattim e;counselalso argued,in

closing,thatthejuryshouldconsidertheamountofdrugsthatcouldbeattributableto
Jones,herself.Tr.Tran.at49-50,ECF No.404.In addition,counselobjected tothePSR'S
findingthattheconspitacywasresponsiblefor1.4ldlogramsofcrack,atguingthatlones
joined theconspiracyin 2012or2013,wellafteêmostofthecltnlg dealingatissuein the
conspiracy had occurred. PSR at25,ECF N o.342. Counselagain raised the clrl'g am ountat

thesentencing hearing,arguing thattlne PSR çfinvitestheCourtto add drug quandty,we

wotzld subznit,with very little evidence,and noteven enough evidence to riseto thelevelof

apreponderance.'' Sent.H r'g Tr.at15,ECF N o.406. H owever,thecourtoverruled the

objection ffessentiallyforthereasonsstatedin thegPSRj,'Rand foundthatloneswasinvolved

                                            6
Case 7:13-cr-00038-MFU      Document 540 Filed 04/19/17         Page 7 of 11      Pageid#:
                                       4121



in the conspiracy atleastasofN ovem ber2007. Sent.Hr'gTr.at25,ECF N o.406. It

concluded thatthe r<1.4 kilogram sofcrack cocainethatwasseized dtzring the course ofthe

conspiracy,thatwasjustseized alone,isreallyaconservative...estimateoftheamountof
crack cocaineinvolved,and itestablishesabase offenselevelof34.7' 1d.

      Finally,inlones'appealto theUnited StatesCourtofAppealsfortheFourt.
                                                                        h Citcuit,
counselargued thatlones'sentencewasunreasonablebecausethePSR Ttdouble-andttiple-
counteddrug quantities.''Jones,622F.App'x at208.TheFourth Citcuitrejectedcounsel's
argumentand concludedthattheKfgelvidencein therecord satisfiestheminimum threshold
to w arrantabase offenselevelof34,:7corresponding to adrug quantity ofatleast840 gram s

ofcrack cocaine. 1d.

      Jonesarguesthatthecourtincorrectly found that1.4ldlogramswereseizedwhen,in
fact,only 267.7 gzam sofcrack cocainew ere seized.The PSR concluded thatthe conspiracy

involved 1.4 ldlogram sofczack cocainebased on ffcontrolled buys,seazches,and arrests,as

wellastheamountttialwimessestestified tobuying orseeinp''PSR jg46,ECF No.342.
Jonesfurtherarguesthatthesetrialwitnesseswereunteliableand thecourtshould nothave
credited theittestim ony.Thisargum entisunaw iling. First,a defendantconvicted of

conspiracy m ay beheld accountable fotalldrugsattributable to allm em bersofthe

conspiracy,ifreasonably foreseeableto the defendant. SeeU nited Statesv.Randall,171

F.3d 195,210 (4th Cir.1999)(noting thatffthedistrictcourtm ay attdbuteto thedefendant
thetotalam ountofdrugsinvolved in the conspiracy,provided the drtzg quandtiesw ere

reasonably foreseeable to the defendantand arewithin the scopeofthe conspiratorial

agreement?);UnitedStatesv.Sesere,413F.App'x 653,659 (4th Cir.2011)(unpublished).
Case 7:13-cr-00038-MFU       Document 540 Filed 04/19/17          Page 8 of 11    Pageid#:
                                        4122



Accordingly,even if1.4 ldlogram srepresentsthe am ountofcrack cocaine forwhich the

conspitacyw asresponsible and notthe am ountofHtn'gsactamlly seized,thecouttclid noterr

by relying on thatam ount. ltiswellestablished thatacourtm ay Tfapproxim ate thequantity

ofthe controlled substance''attributable to the defendantusing only ffuncertain witness

estim ates''aslong asitim posesa sentencedfatthe1ow end oftherange''ofsuch estim ates.

UrlitedStatesv.Crawford,734F.3d 339,342(4th Cir.2013);U.S.Sentencing Guidelines
M anualj2D1.1cmt.n.5.Thecouztappliedabaseoffenselevelof34,correspondingto 840
gram sofcrack cocnine,an am ountlessthan the 1.4 ldlogram sofcrack cocaine forwhich it

found theconspiracy wasresponsible.

       Defensecounselobjectedto thecourt'sfinclingin an appealto theFourth Circuit,
challenged thereliabilityofwitnesstestimonyand thedtugweightattributed toJones.The
Foutth Circuitconcluded,however,thatloneshad failedto show thattlaedistdctcourt
ffreliedon unreliableinfotvnaéon''and thattheffgejvidencein therecozd saésfied the
rninimum threshold towarrantabaseoffenselevelof34.77Jones,622F.App'xat208.
Issuesraised and decided by theFourth Circlzitm ay notberevisited on collateralreview .

UnitedStatesv.Linder,552F.3d 391,396 (4th Cir.2009).Accordingly,loneshasnot
established thatTfcounsel'srepresentaéon fellbelow an objectivestandard of
reasonableness.'' Strickland,466 U .S.at688.

       (2)Failuzeto ObjecttoJones'LateEntzyinto theConspiracy
       Next,Jonesatguesthathercounselezzedbyfailingto objectto thePSR'Sand the
cotzrt'sconclusion thatshe patticipated in theconspiracy from thebeginning. H owever,

counseldid,in fact,m aketlzisargum ent.Asexplained above,counselzepeatedly argued that


                                               8
Case 7:13-cr-00038-MFU          Document 540 Filed 04/19/17             Page 9 of 11      Pageid#:
                                           4123



Jonesjoined theconspitacyafterherbrotherswereincarceratedand aftermuch ofthe
crim inalconductatissuein thecasehad already occurred.A saresult,counselargued that

theam ountofdrugsattributed to hershould bem uch lessthan forhercodefendants.

       However,conttarytoJones'assertionsandoverhercounsel'sobjecéons,thecourt
foundthatloneswasinvolvedintheconspitacyfrom atleast2007.Sent.Hr'gTr.at25,
ECF N o.406. Thecourtwenton to supportitsfinding thatthe conspiracyinvolved 1.4

kilogram sofcrack by concluding thatffitwasreasonably foreseeable to each ofthese

defendantsthattlais- thesizeand scopeofthisconspiracy,including Kearrah qonesj,
essentially forthereasonsstated in thepresentencereport.'' Id.TheFolpt-th Circuit

affit-med thetrialcourt'sdrugweightdetet-mination.Accozdingly,Jonescannotestabûsh
eitherdeficientperformanceorprejudice.Strickland,466U.S.at687.
       B.Constitutionalityof21U.S.C.jj841and 846
       Jonesfiled an am endedj2255motion onApril12,2017,inwhich shearguesthatthe
t'wofederalstatutesunderwlùchshewasindicted,andfoundg1.
                                                      1111 byajuty,aze
unconstitutional.3 Specifically,sheclnimsthat21U.S.C.j841,wllich criminalizesthe
m anufactuze,distribution orpossession ofcontrolled substances,and providesforstattztory

m andatory nninim um orm axim um sentences,depending on the quantity ofcontrolled

substancesinvolved,isunconstitutionalbecauseitTKfailstopzovideapenaltf:butinstead
Tfallowsthejudgetomakethedecision (zegarding thedrugweightinvolved)thatdetermines
thestattztorysentencingmaximumsbyapreponderanceoftheevidence.''Amend.j2255

        3Jonesalsoarguesthat28U. S.C.j851istmconsdmûonal.However,shewasneverchargedunderthatstat   me
andtherefore,hasnostandingtochallengeit.SeeSecretaryofStateofMarylandv.JosephH.MunsonCo.,467U.S.
947,955(1984)(notingthatplainéffsmustasserttheirownlegalrightsandinterestsandestablishthattheyhave
sufferedaconcreteinjuryinordertobeabletobzingsuit).
                                                 9
Case 7:13-cr-00038-MFU       Document 540 Filed 04/19/17       Page 10 of 11     Pageid#:
                                        4124



Mot.at2,3,ECF No.538.Inaddition,lonesarguesthat21U.S.C.j846,wllich
crim inalizesattem ptand conspiracy offenses,isunconstitutionallyvague. Id.at4. First,

theseclaim smustbedisrnissed becausetheyareuntimely.Jonesfiedheram endedj2255
motion aftertheexpiration oftheone-yearstatuteoflimitationssetforth in 28U.S.C.j
2255(4(1)andafterthegovernmentrespondedtoheroriginalj2255modon.Oncea
responsivepleadinghasbeen ftled,apeétionermayamend aj2255petition ffonlybyleave
 ofcokzrtorbywritten consentoftheadverseparty.''Fed.R.Civ.P.15(a)(2).Joneshasnot
received such perm ission.

       H owevez,even ifthe courtwere to addresshercllim on the m erits,shewould notbe

 entitled to relief.In UnitedStatesv.M cAllister,thedefendantargtzed thatj841
impe= issiblyallowedthesentencingjudgetodete= ineJtn'gquanétyasopposedtoajury.
272F.3d228,232(4thCir.2001).TheFotuthCitctzitexpresslyrejectedthisargumentand
 concluded that(<j841isnotfaciallyunconstitutional.''ln addition,theFourth Circuithas
rejectedaconsdt-tzdonalchallengetoj 846.UnitedStatesv.Bullock,21F.App'x 109,n.3
 (4th Cit.zoolltfin&ngfTunavailing''thedefendant'sclnim thatj846isunconstimtional).
Therefore,these argum entsare foreclosed.

                                            111.

       Forthereasonsstated,the courtGRAN TS the govetnm ent'sm otion to disnniss,

 ECF No.483,andDISM ISSESJones'motion and amended modonsto vacate,setasideor
 correcthersentencepursuantto 28U.S.C.j2255,ECF N o.469& 538.Becauseloneshas
 failed to m akea substantialshowing ofthe derlialofa consdttzéonalrightasrequired by28




                                            10
Case 7:13-cr-00038-MFU      Document 540 Filed 04/19/17     Page 11 of 11   Pageid#:
                                       4125



U.S.C.j2253/)andSlackv.McDaniel,529U.S.473,484(2000),acertificateof
appealabilityisD EN IED .



      ENTER:Tllis )'n dayofApril, 2017.

                                     /+/ -'r2.'-7/.?2'
                                      .             .
                                                        '                   l   '
                                            United StatesDi ictludge
